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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

LOZANO ET AL.,


         Plaintiffs,

v.                                                     Case No. 2:22-cv-03089

JOHN DOES I-X; JANE DOES I-X; ABC
PARTNERSHIPS I-X; DEF LIMITED LIABILITY
COMPANIES I-X; AND XYZ CORPORATIONS;

         Defendants.


        MOTION FOR EXPEDITED RULING ALLOWING LIMITED DOCUMENT
         DISCOVERY IN CONJUNCTION WITH PERMITTED DEPOSITIONS

         In connection with Plaintiffs Alexandra Lozano, Angelyne Lisinski, and Giulia Fantacci’s

previously granted Motion for Leave to Serve Subpoenas in advance of Rule 26(f) conference

(ECF No. 1; ECF No. 5), Plaintiffs hereby seek leave to serve limited document requests on third

party deposition witnesses to ascertain the identities of unknown defendants pursuant to Fed. R.

Civ. P. 26(d). Plaintiffs respectfully request an expedited ruling on the matter, as Plaintiffs are in

the midst of serving subpoenas to expeditiously determine the identities of the defendants, and

are currently facing two motions to quash—one in Texas and one in Washington. (See, e.g.,

ECF No. 8). Further, this motion is ripe for consideration, as no defendants have been identified

yet. A memorandum in support is set forth below.

Date: October 13, 2022                              Respectfully submitted,

                                                     /s/ Kirsten R. Fraser
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                                                       Trial Attorney
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                                                    Ashley T. Merino (0096853)
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                                MEMORANDUM IN SUPPORT

                                           Introduction

        Plaintiffs Alexandra Lozano, Angelyne Lisinski, and Giulia Fantacci (collectively,

“Plaintiffs”), respectfully request that the Court grant them leave to serve document requests

with third party subpoenas for depositions prior to a Fed. R. Civ. P. 26(f) conference by way of

this motion (“Motion”). Plaintiffs seek this discovery in order to ascertain the identities of

anonymous online harassers who have been defaming and otherwise tortuously damaging

Plaintiffs on various social media platforms such as TikTok, Google, Facebook, and Instagram.

Fed. R. Civ. P. 26(d) allows for this type of discovery upon a showing of good cause. Such good

cause exists here, and therefore, Plaintiffs respectfully request the Court grant the instant motion

and allow the document requests to be served with deposition subpoenas on third parties.

                               Relevant Background and Updates

        As described in Plaintiffs’ Motion for Leave to Serve Subpoenas, Plaintiffs are

immigration attorneys who have been the target of an over two-year defamatory harassment

campaign by anonymous online detractors and competitors. (Mot. for Leave to Serve

Subpoenas, ECF No. 1, PAGEID #2-3). The campaign has been coordinated and organized from

the start. (Id.)

        Previously, Plaintiffs moved this Court for leave to file subpoenas on certain Internet

providers including Google, Facebook and TikTok. (Id. at PAGEID #6). Plaintiffs also

requested the subpoena power of the Court to question individuals identified to be associated

with the unidentified defendants. (Id.). Plaintiffs noted that the depositions associated with

those subpoenas would be limited in scope, and focused on determining the extent of those

individuals’ knowledge regarding the defamatory campaign, and their knowledge of the
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defamers’ identities. (Id. at PAGEID #3-4). This Court granted Plaintiffs leave to serve third

party discovery on August 12, 2022. (Doc. No. 5).

       In compliance with the Court’s Order, Plaintiffs served subpoenas on Meta and Google,

and served subpoenas on two individuals: Jennifer Scarborough, who resides in Texas, and

Stefania Ramos Birch, who resides in Washington. The subpoenas to Scarborough and Birch

included targeted requests for communications that would reveal the identities of the Doe

Defendants. (See Subpoena to J. Scarborough, Aug. 22, 2022, attached as Exh. A, hereinafter

“Scarborough Subpoena”; Subpoena to S. Birch, Aug. Sept. 13, 2022, attached as Exh. B).

       Scarborough filed a Motion to Quash on Sept. 19, 2022 after negotiations between

counsel regarding the topics and scope of deposition and document requests failed. (See Mot. to

Quash, Sept. 19, 2022, attached as Exh. C, hereinafter “Scarborough Motion”). In that Motion to

Quash, Scarborough presented a unique argument: that the Subpoena was invalid because the

Southern District of Ohio did not have personal jurisdiction over her. (Exh. C at 13-17).

Meanwhile, counsel for Plaintiffs had served Birch with a subpoena, and had had several

discussions in which Birch indicated she would comply with the subpoena, but needed

accommodations for her pregnancy, which counsel readily granted. Then, without notice, Birch

filed a Motion to Quash in the Western District of Washington. (See Mot. to Quash, Sept. 30,

2022, attached as Exh. D, hereinafter “Birch Motion”). The Birch Motion is virtually identical to

the Scarborough Motion, particularly as it presents the same personal jurisdiction argument, with

the same wording and citations.

       Plaintiffs have become aware that in a private Facebook group, this Motion to Quash is

being circulated as a tool against the “arreglar sin salir” lawyers—in other words the Plaintiffs.

(See Screenshot, attached as Exh. E). These identical motions, supported by this Screenshot,



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show that the Plaintiffs are the target of coordinated resistance, and that these communications

take place, in part, over Facebook through its direct messaging feature. Though Plaintiffs

believe that the Court’s Order permitted document discovery on individuals, as document

requests frequently accompany third party subpoenas, to be sure, and to be in compliance with

this Court’s Orders, Plaintiffs are seeking explicit authorization from the Court to make limited

document requests to third party deponents in order to identify the defendants responsible for the

defamation campaign described in the Complaint.

                                         Legal Standard

       Fed. R. Civ. P. 26(d) provides generally that discovery may not begin prior to the Rule

26(f) conference, but expedited discovery may be conducted prior to that conference when

authorized by court order. Courts within the Sixth Circuit require a showing of good cause in

order to authorize expedited discovery. See TCYK, LLC v. Does 1-17, No. 2:13-cv-535, 2013

WL 2665025, *1 (S.D. Ohio Jun. 12, 2013). Good cause exists where the need for expedited

discovery, in consideration of the administration of justice, outweighs the prejudice to the

responding party. See Arista Records, LLC v. Does 1-15, No. 2:07-CV-450, 2007 WL 5254326,

*2 (S.D. Ohio Nov. 5, 2007) (quoting Semitool, Inc. v. Tokoyo Electron Am., Inc., 208 F.R.D.

273, 276 (N.D. Cal. 2002). Good cause is often found in cases alleging unfair competition. See

Arista Records, 2007 WL 5254326 at *2 (citing Quest Comm. Intern., Inc. v. WorldQuest

Networks, Inc., 213 F.R.D. 418, 419 (D. Colo. 2003)). Finally, good cause is determined by the

scope of the discovery request. See Artista Records, 2007 WL 5254325 at *2.




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                                             Argument

       The Court should grant Plaintiffs’ Motion because it is necessary to identify the identities

of Plaintiffs’ harassers, is limited in scope, and does not prejudice any responding party, because

there is no responding party. As such, good cause exists for Plaintiffs’ request.

       A.      The Third Party Subpoenas Requesting Documents Are Necessary to
               Identifying the Defendants.

       Plaintiffs need limited document discovery to identify their harassers. First, it is clear

that the individuals already subpoenaed are acting in the same manner as the Doe Defendants,

and are coordinating a stonewalling effort against the Plaintiffs. The tactics Scarborough and

Birch are using are very similar to the tactics employed against Plaintiffs that are described in the

Complaint. Specifically, a group of individuals that include Scarborough and Birch are

communicating with each other, in part over Facebook through its direct messaging feature, to

block Plaintiffs’ discovery into the identity of the harassers. Plaintiffs need to see

communications that refer to or regard the Plaintiffs from the individuals they are deposing so

that they can identify who is behind the conspiracy.

       Plaintiffs cannot obtain these communications from a third party, such as the Internet

service providers due to the Stored Communications Act (the “SCA”). The SCA, 18 U.S.C. §§

2701 et seq. prevents Internet providers like Meta and Google from disclosing the contents of

these type of communications. Thus, while Plaintiffs are turning to those companies to identify

individuals who have reported them, the content of those reports, and the content of the messages

coordinating the defamatory conspiracy must come from the users themselves. Therefore,

Plaintiffs have to engage in a two-pronged approach in order to identify their harassers. See

Malibu Media, LLC v. Doe, No. 12 Cv. 2950, 2012 WL 5987854, *3 (S.D.N.Y Nov. 30, 2012)

(finding that without discovery, case could not proceed).

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        B.      The Discovery Is Narrowly Tailored to Identify the Defendants.

        Plaintiffs are specifically tailoring their document requests to identify the defendants.

Plaintiffs are aware of the burdens that third party subpoenas impose on third parties, and

understands that Fed. R. Civ. P. 45 requires that Plaintiffs spare third parties from undue

burdens. Plaintiffs are willing to work with the third party witnesses to prepare search protocols

with narrow search terms such that the third parties can streamline their reviews. Plaintiffs are

also willing to work with third parties on dates for depositions and document productions again

to ease the burden. Finally, Plaintiffs only seek discovery into communications that refer or

relate to the Plaintiffs’, their law firms, and the term “arreglar sin salir,” and for the limited time

period that is relevant in the Complaint. Because the pre-Rule 26(f) Conference discovery is

limited in scope and aimed at identifying the Doe Defendants, the Court should find good cause

exists, and grant Plaintiffs’ requests.

                                             Conclusion

        There is good cause for granting the Plaintiffs’ request. The need for this discovery, in

consideration of the administration of justice, outweighs the prejudice to the responding party,

because there is no responding party, and Plaintiffs cannot proceed with their claim without this

discovery. See Arista Records, 2007 WL 5254326 at *2. For all of the reasons identified above,

Plaintiffs respectfully request the Court grant Plaintiffs’ Motion for Expedited Ruling Allowing

Limited Document Discovery in Conjunction with Permitted Depositions.

Date: October 13, 2022                                 Respectfully submitted,

                                                        /s/ Kirsten R. Fraser
                                                       Shawn J. Organ (0042052)
                                                          Trial Attorney
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 13, 2022, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system and was served on all

counsel of record.




                                                    /s/ Kirsten R. Fraser
                                                   Attorney for Plaintiffs




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